









Dismissed and Opinion filed July 11, 2002









Dismissed and Opinion filed July 11, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00334-CR

____________

&nbsp;

JESSIE AGUILAR ESPINOZA, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 338th District Court

Harris
County, Texas

Trial Court Cause
No. 890,155

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a plea of no contest to injury to an elderly individual on October 15,
2001.&nbsp; In accordance with the terms of a
plea bargain agreement with the State, the trial court sentenced appellant to
confinement in the the Institutional Division of the Texas Department of
Criminal Justice for twelve years.&nbsp;
Because we have no jurisdiction over this appeal, we dismiss.&nbsp; 








To
invoke an appellate court=s jurisdiction over an appeal, an appellant must give timely
and proper notice of appeal.&nbsp; White v.
State, 61 S.W.3d 424, 428 (Tex. Crim. App. 2001).&nbsp; On November 6, 2001, appellant filed a
request to withdraw his guilty plea, which we construed as a general notice of
appeal that did not comply with the requirements of Rule 25.2(b)(3) of the
Texas Rules of Appellate Procedure.&nbsp; See
Tex. R. App. P. 25.2(b)(3).&nbsp; Rule 25.2(b)(3) provides that when an appeal
is from a judgment rendered on a defendant=s plea of guilty or nolo contendere
and the punishment assessed does not exceed the punishment recommended by the
State and agreed to by the defendant, the notice of appeal must:&nbsp; (1) specify that the appeal is for a
jurisdictional defect; (2) specify that the substance of the appeal was raised
by written motion and ruled on before trial; or (3) state that the trial court
granted permission to appeal.&nbsp; Id.&nbsp; The time for filing a proper notice of appeal
has expired; thus, appellant may not file an amended notice of appeal to
correct jurisdictional defects.&nbsp; State
v. Riewe, 13 S.W.3d 408, 413-14 (Tex. Crim. App. 2000).&nbsp; 

Not only
must the specific notice of appeal recite the applicable extra-notice
requirements, the record must substantiate the recitations in the notice of
appeal.&nbsp; See Betz v. State, 36
S.W.3d 227, 228-29 (Tex. App.CHouston [14th Dist.] 2001, no pet.); Sherman v. State,
12 S.W.3d 489, 492 (Tex. App.CDallas 1999, no pet.).&nbsp;
Here, the trial court denied appellant permission to appeal.&nbsp; The record does not reflect any
jurisdictional errors or rulings on written pre-trial motions.&nbsp; Because appellant=s notice of appeal did not comply
with the requirements of Rule 25.2(b)(3), we are without jurisdiction to
consider any of appellant=s issues, including the voluntariness of the plea.&nbsp; See Cooper v. State, 45 S.W.2d 77, 83
(Tex. Crim. App. 2001) (holding that appellant who files general notice of
appeal may not appeal voluntariness of negotiated plea).&nbsp; 








Moreover,
as part of the plea bargain agreement, appellant signed a written waiver of his
right to appeal.&nbsp; Appellant chose to
enter into an agreement that included a waiver of the right to appeal.&nbsp; Appellant was informed of his right to
appeal, knew with certainty the punishment he would receive, and that he could
withdraw his plea if the trial court did not act in accordance with the plea
agreement.&nbsp; As appellant was fully aware
of the consequences when he waived his right to appeal, it is Anot unfair to expect him to live with
those consequences now.@&nbsp; Alzarka v. State,
60 S.W.3d 203, 206 (Tex. App.CHouston [14th Dist.] July 26, 2001, pet. granted) (quoting
Mabry v. Johnson, 467 U.S. 504, 104 S.Ct. 2543, 2547-48 (1984)).&nbsp; See also Blanco v. State, 18 S.W.3d
218, 219-20 (Tex. Crim. App. 2000); Buck v. State, 45 S.W.3d 275, 278
(Tex. App.CHouston [1st Dist.] 2001, no pet.). 

Accordingly,
we dismiss the appeal for want of jurisdiction.&nbsp;


&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion filed July 11, 2002.

Panel consists of Chief Justice Brister and Justices
Anderson and Frost.

Do Not Publish C Tex. R. App. P. 47.3(b).

&nbsp;





